   Case 3:16-md-02738-MAS-RLS Document 3373 Filed 12/13/17 Page 1 of 1 PageID: 10484
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                  DistrictDistrict
                                             __________    of NewofJersey
                                                                    __________

  Lynda Scott
                                                                )
                             Plaintiff                          )
                                v.                              )      Case No. 3:17-cv-08641
                 Johnson & Johnson, et al.                      )
                            Defendant                           )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Lynda Scott                                                                                                   .


Date:          12/06/2017                                                              /s/ Douglas R. Plymale
                                                                                          Attorney’s signature


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